       Case 2:13-cr-00016-GEB Document 96 Filed 06/14/17 Page 1 of 5


1

2

3

4

5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    United States of America,             No. 2:13-cr-00016-GEB
9                   Plaintiff,
10        v.                               ORDER GRANTING DEFENDANT’S
                                           MOTION FOR SENTENCE REDUCTION
11   CARLOS ALEJANDRO MENDOZA-             UNDER 18 U.S.C. § 3582 AND
     VILLANUEVA,                           AMENDMENT 782 TO THE UNITED
12                                         STATES SENCTENING GUIDELINES
                    Defendant.
13

14
                Defendant Carlos Alejandro Mendoza-Villanueva filed a
15
     motion in propria persona for reduction of his sentence under 18
16
     U.S.C. § 3582 and Amendment 782 to the United States Sentencing
17
     Guidelines.     ECF Nos. 87, 88, 89, and 91.           The United States
18
     filed an opposition to the motion.          Gov’t Opp’n, ECF No. 93.     The
19
     Federal Defender filed a brief supplementing the motion.                Def.
20
     Br., ECF No. 95.
21
                Defendant seeks a “sentence . . . reduc[tion of his 90
22
     month prison sentence] by three months to 87 months in light [of
23
     the Ninth Circuit’s holding in] United States v. Davis, 825 F.3d
24
     1014 (9th Cir. 2016)[(en banc)].”           Def. Br. 1:19-20.     Defendant
25
     entered into a Federal Rule of Criminal Procedure 11(c)(1)(C)
26
     plea agreement, in which the parties agreed to a 70 to 120 month
27
     imprisonment    sentencing    range   and    to   jointly   recommend   that
28
                                           1
       Case 2:13-cr-00016-GEB Document 96 Filed 06/14/17 Page 2 of 5


1    Defendant be imprisoned for 90 months.        Defendant argues:

2                    Davis is clear that if the District
                Court judge’s decision to accept the plea and
3               impose the recommended sentence was based on
                a Guideline range which has subsequently been
4               reduced by a retroactive amendment, then the
                defendant is eligible for reduction. Because
5               the Court is required to calculate the
                guidelines and use them as a starting point,
6               and most plea agreements contain language
                about the Court calculating the guidelines
7               and taking them into account, most Rule
                11(c)(1)(C) sentences will be eligible for
8               reduction. Only in a case where the Court is
                clearly NOT basing the 11(c)(1)(C) sentence
9               upon the guidelines will a defendant be
                ineligible for a §3582 reduction.
10
                      In this case, the plea agreement states:
11
                      ‘The defendant understands that the
12                    Court    must   consult    the    Federal
                      Sentencing Guidelines and must take them
13                    into account when determining a final
                      sentence. The defendant understands that
14                    the Court will determine a non-binding
                      and advisory guideline sentencing range
15                    for this case pursuant to the Sentencing
                      Guidelines.   The    defendant    further
16                    understands that the Court will consider
                      whether there is a basis for departure
17                    from    the     guidelines     sentencing
                      range . . . .’.
18
                Dkt. 34[ ]at p. 6.
19
                     Under   Mr.   Mendoza-Villanueva’s   plea
20              agreement   the   parties   stipulated  to   a
                sentence of 90 months. In the Statement of
21              Reasons, this Court explicitly adopted the
                presentence    investigation    report   (PSR)
22              without change. Mr. Mendoza-Villanueva’s PSR
                found his total offense level to be 31 and
23              his criminal history category I for a range[]
                of 108-135 months. The Court sentenced Mr.
24              Mendoza-Villanueva in accordance with the
                Rule 11(c)(1)(C) plea agreement to 90 months.
25
                     Under Davis, Mr. Mendoza-Villanueva is
26              eligible for relief under section 3582(c)(2).
                This Court based its sentence on the now
27              lowered Guidelines when it adopted the
                findings of the applicable range set forth in
28              the PSR. There is nothing on the record in
                                      2
       Case 2:13-cr-00016-GEB Document 96 Filed 06/14/17 Page 3 of 5


1                 this case to suggest that the Court did not
                  base   its  sentence   on   the   Sentencing
2                 Guidelines.

3                      In   2014   the  Sentencing   Commission
                  unanimously passed retroactive Amendment 782.
4                 Under the changes enacted by that amendment,
                  Mr. Mendoza-Villanueva’s total offense level
5                 now drops to a 29 and his new guideline range
                  is 87-108 months. He should now be sentenced
6                 to the low end of the guideline range[]: 87
                  months.
7
     Def. Br. 1:24-2:24 (emphasis in original).
8
                  The United States argues in opposition to the requested
9
     reduction:
10
                       [Defendant’s   sentence-specific    plea]
11                agreement (1) did not require the Court to
                  determine the applicable sentencing range but
12                it did recognize that the district court was
                  required to do so by law; (2) it did not
13                provide for a base offense level or any other
                  sentencing guideline stipulations; and (3) it
14                did mention that the government would move
                  for a three-level departure for acceptance of
15                responsibility. Thus, the question under
                  Davis is whether defendant’s sentence was not
16                ‘based on a sentencing range that has
                  subsequently been lowered by the Sentencing
17                Commission,’ but rather on the agreed upon
                  range of 70 to 120 months in prison,
18                consistent   with   the    specific   sentence
                  articulated in the Rule 11(c)(1)(C) plea
19                agreement. This defendant’s case does not fit
                  squarely within the vague guidance provided
20                by Davis, but the United States believes a
                  fair   reading   of   the   defendant’s   plea
21                agreement and this Court’s sentence is
                  ambiguous about whether Davis precludes this
22                defendant’s   eligibility   for   a   sentence
                  reduction. When this defendant’s agreement
23                was drafted, the applicable Ninth Circuit law
                  of United States v. Austin, 676 F.3d 924 (9th
24                Cir. 2012), made clear that no later sentence
                  reduction   would   occur.    The   carefully-
25                negotiated plea agreement provided benefits
                  to both parties and finality should result
26                when the Court accepts a Rule 11(c)(1)(C)
                  agreement. Indeed, as part of his bargain,
27                the defendant received a sentence below his
                  then-applicable guideline range. For these
28                reasons, the Court should find that Rule
                                          3
       Case 2:13-cr-00016-GEB Document 96 Filed 06/14/17 Page 4 of 5


1                 11(c)(1)(C),   as   interpreted   by   Davis,
                  precludes defendant from receiving a sentence
2                 reduction under § 3582.

3    Gov’t Opp’n 5:1-16.

4                 Davis     explains    that        when       determining       whether     a

5    defendant is eligible to seek § 3582(c)(2) relief, “[e]ven when a

6    defendant enters into an 11(c)(1)(C) agreement,” the inquiry is

7    whether the sentence imposed was “likely . . . based on the

8    Guidelines; and [if] it [wa]s, the defendant should be eligible

9    to seek § 3582(c)(2) relief.”             825 F.3d at 1026 (citing Freeman

10   v. United States, 564 U.S. 522, 534 (2011) (plurality opinion)).

11   Here, Defendant’s sentence was likely based on his guidelines

12   sentencing    imprisonment       range    of    108       to   135    months,   and   the

13   parties’     recommended      sentence    of    90        months      imprisonment    was

14   likely determined to be a sufficient sentence to satisfy the

15   pertinent sentencing factors in § 3553(a). Therefore, Defendant’s

16   sentence     was     likely    based     on     the        since-amended        advisory

17   guidelines    sentencing      range,     and    Defendant        is    eligible   for   a

18   reduction of his sentence.

19                The United States Supreme Court states in Dillon v.

20   United States, 560 U.S. 817, 827 (2010), after a defendant is

21   found eligible for a sentence reduction “§ 3582(c)(2) instructs a

22   court   to    consider     any    applicable          §    3553(a)      factors    [when

23   determining] whether, in its discretion, the reduction . . . is

24   warranted in whole or in part under the particular circumstances

25   of the case.”        The United States argues the previously imposed 90

26   month sentence should not be reduced because it “reflects the

27   serious nature of transporting and possessing more than 13 pounds

28   of methamphetamine [, and Defendant previously] transported . . .
                                               4
       Case 2:13-cr-00016-GEB Document 96 Filed 06/14/17 Page 5 of 5


1    a large quantity of drugs.”          Gov’t Opp’n 5:20-22.          Defendant

2    counters since the previous sentence “was 18 months below the low

3    end of the sentencing guidelines . . . this Court would likely

4    find that the low end of the guidelines is a sufficient sentence

5    that is not greater than necessary to meet the goals of 18 U.S.C.

6    3553(a).”    Def. Br. 2:27-3:2.

7                In light of the extent of the downward variance from

8    the advisory guidelines sentencing range granted in Defendant’s

9    favor when he was previously sentenced, and the three months

10   difference between that sentence and the bottom of the amended

11   advisory guidelines sentencing range, it is likely that had the

12   advisory guidelines sentencing range been lowered at the time

13   Defendant was previously sentenced to what it is now, that based

14   on consideration of the pertinent sentence factors in § 3553(a),

15   Defendant would have received the sentence he now seeks.

16               Therefore,   the   motion    is   granted    and      Defendant’s

17   sentence is reduced to 87 months.        The judgment shall be amended

18   to reflect this reduction.

19   Dated:   June 13, 2017

20
21

22

23

24

25

26
27

28
                                          5
